            CASE 0:22-mc-00033-NEB-DTS Doc. 1 Filed 06/03/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                               Case No. 22-mc-________
                Plaintiff,

        v.                                             STIPULATION TO EXTEND
                                                           TIME TO COMMENCE
 1. $55,220.00 IN U.S. CURRENCY,                         JUDICIAL FORFEITURE
 2. MISC. ARTWORK / COLLECTIONS,                                 PROCEEDINGS
 3. VARIOUS SILVER AND GOLD COINS,
    and
 4. MISC. JEWELRY AND PRECIOUS ITEMS,

                Defendants,

        and

 DAVID MICHAEL RAMIREZ,

                Claimant.

       The Plaintiff and the Claimant stipulate, pursuant to 18 U.S.C. § 983(a)(3)(A), to

extend the time in which the Plaintiff is required to file a Complaint for Forfeiture or to

obtain an Indictment alleging forfeiture until June 6, 2022.

       1.       On or about December 8, 2021, United States Drug Enforcement

Administration (“DEA”) and West Metro Drug Task Force (WMDTF) seized $55,220.00

in U.S. Currency, miscellaneous artwork/collections, various silver and gold coins, and

miscellaneous jewelry and precious (hereinafter “Defendant Property”) items from the

Claimant.

       2.       The DEA commenced administrative forfeiture proceedings for the

Defendant Property and sent written notice to all known interested parties of its intent to

forfeit the currency.
            CASE 0:22-mc-00033-NEB-DTS Doc. 1 Filed 06/03/22 Page 2 of 3




       3.       On March 8, 2022, David M. Ramirez filed a claim for the Defendant

Property through his attorney, Steven T. Grimshaw.

       4.       The time has expired for any other person to file a claim for the Defendant

Property under 18 U.S.C. § 983(a)(2)(A)-(E), and no other claims for any portion of the

currency have been received from any other individual or entity.

       5.       Under 18 U.S.C. § 983(a)(3)(A), the government has 90 days after a claim

has been filed in an administrative action to bring a civil complaint for forfeiture, “except

that a court in the district in which the complaint will be filed may extend the period for

filing a complaint for good cause shown or upon agreement of the parties.”

       6.       The parties have commenced settlement discussions and have scheduled

additional times to conduct in-person settlement discussions, but will be unable to complete

them before the current June 6, 2022 deadline. Accordingly, the parties agree to extend the

deadline under 18 U.S.C. § 983(a)(3) for filing a judicial forfeiture proceeding with respect

to the Defendant Currency until September 6, 2022 in order to allow time for settlement

discussions.

Dated: June 3, 2022                        ANDREW M. LUGER
                                           United States Attorney

                                           s/ Craig R. Baune
                                           BY: CRAIG R. BAUNE
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                                              2
        CASE 0:22-mc-00033-NEB-DTS Doc. 1 Filed 06/03/22 Page 3 of 3




Date: June 3, 2022                 LAW OFFICE OF STEVEN T. GRIMSHAW

                                   s/ Steven T. Grimshaw
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                                     3
